IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT ()F TENNESSEE

REVAL FINANCIAL NPL, LLC, )
)
Plaintiff, )
)
Vs. ) CIVIL ACTION NO.:
)
ASHOKE MUKHERJI, )
)
Defendant. )
)
)
COMPLAINT

Plaintiff ReVal Financial NPL, LLC ("Plaintiff"), for its Complaint against Defendant

Ashoke Mukherji ("Defendant"), states:
Parties

l. Plaintil`f ReVal Financial NPL, LLC is a limited liability company organized
under the laws of the State of Delaware With its principal place of business located at 5251 DTC
ParkWay, Suite 30(), Greenwood Village, Colorado 80111. No members or sub-members of
ReVal Financial NPL, LLC are residents of the State of Tennessee.

2. Defendant Ashoke l\/Iul<herji, upon information and belief, is a citizen and
resident of the State of Tennessee and may be served With process at 5123 Virginia Way,

Brentwood, Tennessee 3 702 7.

Jurisdiclion and Venue
3. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §
1332. The amount in controversy exceeds the sum of $75,()00, exclusive of interest and costs,

and complete diversity exists between the opposing parties

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4. This Court has personal jurisdiction over the parties

5. Venue is proper in this Court pursuant to 28 U.S.C. § l39l.
F acts
6. Defendant obtained a business loan from Tennessee Commeree Bank, designated

as Loan No. 6416, in the principal amount of $150,000.00. For value received, Defendant
executed a promissory note dated November 8, 2010 in favor of Tennessee Commeree Bank in
the principal sum of 3150,000.00, plus interest ("the Note") and a business loan agreement
("Loan Agreement") in connection with the loan. True and correct copies of the Note and Loan
Agreement are attached hereto, respectively, as Exhibit 1 and Exhibit 2 and are incorporated by
reference as if set forth fully herein.

7. On January 27, 2012, Tennessee Commeree Banl< was closed by the Tennessee
Departmcnt of Financial lnstitutions and the Federal Deposit Insurance Corporation ("FDIC")
was named receiver ofits assets, including Loan No. 6416.

8. On August 9, 2012, ReVal Financial, LLC purchased Loan No. 6416 and was
assigned all rights under the Loan Agreement and the Note. A true and copy of the Allonge to
the Note for the assignment of the Note to ReVal Finaneial, LLC is attached hereto as Exhibit 3
and is incorporated by reference as if set forth fully herein.

9. On October 9, 20l2, ReVal Finaneial, LLC served Defendant with a Noticc of
Sale and Assignment of Rights notifying Defendant of ReVal Financial, LLC's purchase and
assignment of rights to Loan No. 6416. A true and correct copy of the Notice of Sale and

Assignment of Rights is attached hereto as Exhibit 4 and is incorporated by reference as if set

forth fully herein.

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10. On December 5, 2012, ReVal Financial, LLC sent Defendant a letter notifying
Defendant of his material breach of the Loan Agreement and Note and demanding immediate
payment of the outstanding balance under the Note in full. A true and correct copy of the
December 5, 2012 letter is attached hereto as Exhibit 5 and is incorporated by reference as if set
forth fully herein.

ll. On January l7, 2013, ReVal Financial, LLC assigned Loan No. 6416 and all
rights under the Loan Agreement and the Note to Plaintiff True and correct copies of the
General Assignment and Allonge to the Note for the assignment of loan and Note to Plaintiff are
attached hereto collectively as Exhibit 6 and are incorporated by reference as if set forth fully
herein.

12. Plaintiff is the holder of the Note and has the right to enforce payment of the full
amount owed thereunder.

13. Defendant has failed to make payments due and owing under the Note and is in
material breach of its terms.

14. As a result of Defendant's material breach of the Note for non-payment, Plaintiff
has declared all amounts under the Note immediately due and owing per the terms of the Note.

15. Defendant has failed to pay the full amount of the outstanding balance due under
the Note.

16. The principal sum of 3104,936.57 remains due and owing under the Note, plus

accrued interest and late fees.

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CAUSES OF ACTION

CoUNT l
Breach of Contract

17. Plaintiff restates the preceding allegations of this Complaint as if set forth fully
herein.

18. The Note and Loan Agreement constitute valid and enforceable contracts under
Tennessee law.

19. Defendant is in material breach of his obligations under the Note and Loan
Agreement.

20. Defendant's conduct alleged herein constitutes a separate and independent breach
of the covenant of good faith and fair dealing that is implied in the Note and Loan Agreement.

21. As a result of the Defendant's material breach of the Note and Loan Agreement,
Plaintiff is entitled to recover from Defendant all amounts due and owing under the Note,
including the principal sum of $104,936.57, all accrued interest, late fees, and Plaintiffs

reasonable attorneys' fees and costs of collection per the terms of the Note.

WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court:

(a) order that Defendant answer this Complaint within the time prescribed by law;

(b) enter judgment against Defendant for breach of contract for all amounts due and
owing under the Note, including Plaintiffs reasonable attorneys' fees and costs;

(c) enter judgment against Defendant for post-judgment interest; and

(d) enter judgment against Defendant for such other general relief that justice requires

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Respectfully submitted,

CHAMBLISS, BAHNER & STOPHEL, P. C.

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